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                                                          12                               UNITED STATES DISTRICT COURT
F ENWICK & W EST LLP




                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                       ATTORNEYS AT LAW




                                                          13
                                          MOUNTAIN VIEW




                                                          14                                        SAN JOSE DIVISION

                                                          15

                                                          16   IN RE INTUIT DATA LITIGATION                    Master Docket No. 15-CV-01778-EJD

                                                          17                                                   NOTICE OF MOTION AND MOTION
                                                                                                               TO DISMISS PLAINTIFFS’ THIRD
                                                          18                                                   CONSOLIDATED AMENDED
                                                                                                               COMPLAINT PURSUANT TO
                                                          19   THIS DOCUMENT RELATES TO:                       FEDERAL RULE OF CIVIL
                                                                                                               PROCEDURE 12(B)(6);
                                                          20                   ALL ACTIONS                     MEMORANDUM OF POINTS AND
                                                                                                               AUTHORITIES IN SUPPORT
                                                          21                                                   THEREOF

                                                          22                                                   REDACTED VERSION OF
                                                                                                               DOCUMENT SOUGHT TO BE
                                                          23                                                   SEALED

                                                          24
                                                                                                               Date:         March 29, 2018
                                                          25                                                   Time:         9:00 a.m.
                                                                                                               Location:     Courtroom 4, 5th floor
                                                          26                                                   Judge:        The Hon. Edward J. Davila

                                                          27

                                                          28

                                                               MOTION TO DISMISS TCAC; MEMO. OF POINTS                     MASTER DOCKET NO. 15-CV-01778-EJD
                                                               AND AUTHORITIES IN SUPPORT THEREOF
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                                          MOUNTAIN VIEW




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                                                           1                                  TABLE OF ABBREVIATIONS

                                                           2
                                                               Arbitration Plaintiffs       Plaintiffs Knoch, Lebinski, Siegel, Stock, and Williams
                                                           3
                                                               Brown                        Plaintiff Richard Brown, a resident of Pennsylvania
                                                           4
                                                               CAC                          Consolidated Amended Complaint, filed Sept. 29, 2015 (Dkt. No.
                                                           5                                51)

                                                           6   Cole Decl. III               Declaration of Rodger R. Cole in Support of Motion to Dismiss
                                                                                            Plaintiffs’ Third Consolidated Amended Complaint Pursuant to
                                                           7                                Federal Rule of Civil Procedure 12(b)(6)
                                                           8   Darke Decl.                  Declaration of Jessica Darke in Support of Motion to Dismiss
                                                           9                                Plaintiffs’ Third Consolidated Amended Complaint Pursuant to
                                                                                            Federal Rule of Civil Procedure 12(b)(6)
                                                          10
                                                               Diaz                         Plaintiff Christine Diaz, a resident of Ohio
                                                          11
                                                               FTC                          Federal Trade Commission
                                                          12
F ENWICK & W EST LLP




                                                               Fugatt                       Plaintiff Michelle Fugatt, a resident of Alabama
                       ATTORNEYS AT LAW




                                                          13
                                          MOUNTAIN VIEW




                                                               GLBA                         Gramm-Leach Bliley Act
                                                          14
                                                               Intuit                       Defendant Intuit Inc.
                                                          15
                                                               IRC                          Internal Revenue Code
                                                          16

                                                          17   IRS                          Internal Revenue Service

                                                          18   IRS Pub. 1345                IRS Publication 1345, “Handbook for Authorized IRS e-file
                                                                                            Providers of Individual Income Tax Returns,” attached as Exhibit E
                                                          19                                to the Cole Decl. III

                                                          20   IRS Pub. 3112                IRS Publication 3112, “IRS e-file Application and Participation,”
                                                                                            attached as Exhibit F to the Cole Decl. III
                                                          21
                                                               Knoch                        Plaintiff Carol Knoch, a resident of Illinois
                                                          22
                                                               Lebinski                     Plaintiff James Lebinski, a resident of Connecticut
                                                          23

                                                          24   Motion to Dismiss SCAC       Intuit’s Motion to Dismiss Plaintiffs’ Second Consolidated
                                                                                            Amended Complaint Pursuant to Rule 12(b)(1) and Rule 12(b)(6)
                                                          25                                of the Federal Rules of Civil Procedure, filed Feb. 5, 2016 (Dkt.
                                                                                            No. 78)
                                                          26
                                                               Motion to Dismiss TCAC       Intuit’s Motion to Dismiss Plaintiffs’ Third Consolidated Amended
                                                          27                                Complaint Pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the
                                                                                            Federal Rules of Civil Procedure
                                                          28

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                                                           1
                                                               PII                          Personally identifiable information
                                                           2
                                                               RJN                          Request for Judicial Notice in Support of Defendant Intuit Inc.’s
                                                           3                                Motion to Dismiss Plaintiffs’ Third Consolidated Amended
                                                                                            Complaint
                                                           4
                                                               SCAC                         Second Consolidated Amended Complaint, filed December 18,
                                                           5                                2015 (Dkt. No. 69)
                                                           6   Section 7216                 26 U.S.C. §§ 7216, et seq.
                                                           7   Siegel                       Plaintiff Todd Siegel, a resident of California
                                                           8
                                                               SSN                          Social Security Number
                                                           9
                                                               Stock                        Plaintiff David Stock, a resident of Maryland
                                                          10
                                                               TCAC                         Third Consolidated Amended Complaint, filed Nov. 17, 2017 (Dkt.
                                                          11                                131)

                                                          12   TTD                          TurboTax Desktop
F ENWICK & W EST LLP
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                                                          13   TY                           Tax Year
                                          MOUNTAIN VIEW




                                                          14   TY10 Customer Plaintiff      Diaz
                                                          15   Williams                     Plaintiff Marilyn Williams, a resident of Maryland
                                                          16

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                                                               MOTION TO DISMISS TCAC; MEMO. OF POINTS        viii            MASTER DOCKET NO: 5:15-cv-01778-EJD
                                                               AND AUTHORITIES IN SUPPORT THEREOF
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                                                           1                       NOTICE OF MOTION AND MOTION TO DISMISS
                                                           2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                           3          PLEASE TAKE NOTICE that on March 29, 2018, at 9:00 a.m., or as soon thereafter as
                                                           4   the matter may be heard, before the Hon. Edward J. Davila, Courtroom 4, 5th floor of the above-
                                                           5   entitled court, located at 280 South First Street, San Jose, CA 95113, Intuit will move the Court to
                                                           6   dismiss the Third Consolidated Amended Complaint pursuant to Federal Rule of Civil Procedure
                                                           7   12(b)(6). Intuit’s Motion is based on this Notice of Motion and Motion, the accompanying
                                                           8   Memorandum of Points and Authorities, Request for Judicial Notice, the Declarations of Rodger
                                                           9   R. Cole and Jessica Darke and their attached exhibits filed concurrently with this motion, and all
                                                          10   papers on file in this consolidated action and any related actions (including all papers filed by
                                                          11   Intuit on December 1, 2015 and February 5, 2016), and such other written or oral argument as
                                                          12   may be properly presented to the Court at the time of hearing or otherwise.
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                                                          13                                STATEMENT OF RELIEF SOUGHT
                                          MOUNTAIN VIEW




                                                          14          Intuit seeks dismissal of the Second Count (negligence) brought by Plaintiff Brown and
                                                          15   the Third Count (aiding and abetting fraud) brought by Plaintiffs Brown and Diaz pursuant to
                                                          16   Rule 12(b)(6) for failure to state a claim upon which relief can be granted.
                                                          17                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                          18                                         I. INTRODUCTION
                                                          19          The Third Consolidated Amended Complaint (TCAC) alleges that Plaintiffs were the
                                                          20   victims of identity theft by third parties. The TCAC does not, however, allege that Intuit suffered
                                                          21   a data breach, or that Plaintiffs’ PII was otherwise stolen from Intuit. Instead, the TCAC alleges
                                                          22   that Intuit—a do-it-yourself tax preparation software company—should have, but failed, to
                                                          23   singlehandedly insulate the country’s federal and state taxation systems from the consequences of
                                                          24   identity theft by third parties. Plaintiffs invite the Court to impose a new common law duty
                                                          25   requiring Intuit to protect Plaintiffs and other taxpayers from the consequences of identity theft by
                                                          26   third parties. But tax administration is a heavily regulated field for good reason. It requires
                                                          27   compromise between multiple policy goals, including ease of tax preparation, efficiency of tax
                                                          28   administration, security of taxpayer data, and taxpayer privacy. Congress, the IRS and their

                                                               MOTION TO DISMISS TCAC; MEMO. OF POINTS            1              MASTER DOCKET NO. 15-CV-01778-EJD
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                                                           1   parallel state legislatures and taxing authorities (and not the judiciary) are charged with mediating
                                                           2   these conflicting policies and others, as well as regulating and collaborating with the industry to
                                                           3   combat the ever-evolving challenges of stolen identity refund fraud (SIRF). The Court should
                                                           4   once again decline Plaintiffs’ invitation to create unprecedented common law rules and
                                                           5   regulations, and impose the far-reaching obligations Plaintiffs seek to impose here.
                                                           6            After three consolidated amended complaints, it is now readily apparent that Plaintiffs
                                                           7   cannot plead a cognizable claim for aiding and abetting fraud or for negligence (as to non-Intuit
                                                           8   customer Brown). After Intuit filed its first Motion to Dismiss, Plaintiffs did not oppose the
                                                           9   motion and instead filed the SCAC. In the SCAC, Plaintiffs made material omissions and
                                                          10   admissions, abandoned claims, disavowed their contracts with Intuit in an unsuccessful attempt to
                                                          11   avoid arbitration, eliminated the two classes of plaintiffs originally proposed in the CAC,
                                                          12   admitted that Plaintiffs were SIRF victims only, and omitted allegations of an Intuit data breach.
F ENWICK & W EST LLP
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                                                          13   SCAC ¶¶ 79-85, 88, 98, 108, 115, 124, 133, and 162. In response to Plaintiffs’ SCAC, Intuit filed
                                          MOUNTAIN VIEW




                                                          14   a motion to compel arbitration and stay proceedings against Arbitration Plaintiffs Knoch,
                                                          15   Lebinski, Siegel, Stock, and Williams. Dkt. No. 75. The Court granted Intuit’s motion and
                                                          16   stayed proceedings as to the Arbitration Plaintiffs.1 Dkt. No.123. Intuit also moved to dismiss
                                                          17   certain of the remaining Plaintiffs Brown and Diaz’s claims.2 Dkt. Nos. 78, 124. In response to
                                                          18   Intuit’s Motion to Dismiss SCAC, the Court found that non-customer Brown had not alleged facts
                                                          19   that would have put Intuit on notice that a fraudster was opening a TurboTax account in his name,
                                                          20   and dismissed his negligence claim with leave to amend. Dkt. No. 124 at 5:21-6:17 (“Order”).
                                                          21   The Court also found that Brown and Diaz had not alleged “that Intuit intentionally transmitted
                                                          22   fraudulent returns in their names or in their Social Security numbers to taxing authorities,” and
                                                          23   1
                                                                 On October 27, 2017, Plaintiffs moved for permission to seek interlocutory appellate review or
                                                          24   for leave to file a motion for reconsideration of the Court’s order on the motion to compel. Intuit
                                                               filed an opposition to this motion on December 1, 2017. Dkt. No. 136. Plaintiffs’ motion is
                                                          25   currently pending, and is set to be heard on February 15, 2018. The Arbitration Plaintiffs have
                                                               continued to assert their claims in the TCAC to preserve their rights. See TCAC ¶ 13 n.1.
                                                          26   Because the case is stayed as to the Arbitration Plaintiffs, this motion only addresses the claims of
                                                               the two remaining Plaintiffs, Brown and Diaz.
                                                          27   2
                                                                 Two of the eight named plaintiffs, Siegel and Fugatt, filed voluntary dismissals. See Dkt. Nos.
                                                               98-99, 111-112.
                                                          28

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                                                           1   dismissed the aiding and abetting fraud claim with leave to amend.3 Id. at 7:20-21, 8.
                                                           2            Plaintiffs allege only a handful of new facts in the TCAC as compared to the SCAC, none
                                                           3   of which overcome the deficiencies identified by the Court. First, Brown’s negligence claim fails
                                                           4   because Intuit owes no duty to non-customers as the harm is not foreseeable since Brown has not
                                                           5   identified any indicia of fraud. Policy reasons also counsel against creating and imposing upon
                                                           6   Intuit new and unlimited common law duties to all American taxpayers. Second, Brown and
                                                           7   Diaz’s aiding-and-abetting claim fails because Plaintiffs have not pled facts about any specific
                                                           8   intent to aid and abet a specific instance of fraud, and cannot plead that Intuit had actual
                                                           9   knowledge or substantially assisted a fraud—a fraud that Plaintiffs must concede was based on
                                                          10   PII stolen from a source other than Intuit and before the fraudster ever used TurboTax.
                                                          11            Because the allegations in the TCAC do not cure the defects described in the Order,
                                                          12   Plaintiffs again fail to state a legal claim. Intuit thus requests that the negligence claim brought
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                                                          13   by Brown and the aiding-and-abetting claims brought by Brown and Diaz be dismissed without
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                                                          14   leave to amend.
                                                          15                          II. STATEMENT OF ISSUES TO BE DECIDED
                                                          16   Aiding and Abetting Fraud (Third Count)
                                                          17         1. Should Plaintiffs Brown and Diaz’s Third Count be dismissed because Plaintiffs fail to
                                                                        allege actual knowledge?
                                                          18
                                                                     2. Should the Third Count be dismissed because Plaintiffs fail to allege substantial assistance
                                                          19            with the particularity required by Rule 9(b)?
                                                          20   Negligence (Second Count)
                                                          21         3. Should Plaintiff Brown’s Second Count be dismissed because Intuit does not owe a
                                                                        common-law duty of care to all American taxpayers?
                                                          22

                                                          23

                                                          24

                                                          25

                                                          26
                                                               3
                                                                The Court also dismissed the negligent enablement of third-party imposter fraud with prejudice,
                                                          27   and denied the Motion to Dismiss Plaintiffs’ unfair competition and unjust enrichment claims, as
                                                               well as Diaz’s negligence claim. See Dkt. No. 124.
                                                          28

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                                                           1                                    III. STATEMENT OF FACTS4
                                                           2   A.       The Recent Rise in Identity Theft and Tax Refund Fraud
                                                           3            Plaintiffs allege that Intuit allowed fraudulent tax returns to be filed in Plaintiffs’ names in

                                                           4   TY14, calendar year 2015. TCAC ¶¶ 109, 122. Plaintiffs concede that Intuit did not have a data

                                                           5   breach. Compare CAC with TCAC (no data breach allegations in TCAC). In 2015, there was an

                                                           6   unprecedented increase in identity theft and fraud across all industries, including a substantial

                                                           7   increase in fraudulent filings submitted to the IRS and state taxing authorities. TCAC ¶¶ 29, 31-

                                                           8   34 nn.6, 8-17.5 The fraudulent tax filings generally took one of two forms: (a) stolen identity

                                                           9   refund fraud (“SIRF”) or (b) account takeovers (“ATOs”). Id. ¶¶ 26, 33 n.16, 77 n.38. SIRF

                                                          10   involves a fraudster trying to file a tax return using an individual’s PII that was obtained from a

                                                          11   third-party source (i.e., outside of Intuit). Id. ¶¶ 26.a, 33 n.16. In this situation, the fraudster can

                                                          12   create a new TurboTax account for an individual whose PII was stolen elsewhere, including for
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                                                               an individual who may have never used TurboTax. Id.; see also id. ¶ 64 n.27. ATO involves a
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                                                          14   fraudster’s use of valid login credentials obtained from a source outside of Intuit to illegally

                                                          15   access a customer’s existing TurboTax account. Id. ¶ 77, n.38. In both cases, fraudsters illegally

                                                          16   obtain information from well-publicized data breaches (that have nothing to do with Intuit), or

                                                          17   through phishing schemes targeting consumers directly or malware installations on victims’

                                                          18   computers. Id. ¶ 26.

                                                          19            The increase in attempted SIRF and ATOs in TY14 is attributable to this increased

                                                          20   availability of PII and valid login credentials acquired from other companies’ data breaches and

                                                          21   the increased deployment of aggressive phishing and malware campaigns. Id. ¶¶ 26, 48, 64,

                                                          22   nn.27, 38. For example, the Office of Personnel Management revealed around June 4, 2015, and

                                                          23   July 9, 2015 (after the regular tax season), that it had suffered one of the largest government data

                                                          24   4
                                                                 Citations are to the TCAC, documents incorporated therein by reference, and any other matters
                                                          25   judicially noticeable, and unless otherwise stated are assumed true for purposes of this Motion
                                                               only. See RJN; Antman v. Uber Techs., Inc, No. 3:15-cv-01175-LB, 2015 WL 6123054, at *2 n.2
                                                          26   (N.D. Cal. Oct. 19, 2015) (citing Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)).
                                                               5
                                                                 For the Court’s convenience, copies of the materials from the 22 URLs cited in the TCAC are
                                                          27   submitted as Exhibit A (with numbered subparts 1-22) to the Cole Decl. III. See Cole Decl. III
                                                               ¶ 4.
                                                          28

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                                                           1   breaches in U.S. history, whereby the PII of 4.2 million current and former government
                                                           2   employees and 21 million others had been compromised (including background investigation
                                                           3   records of current, former and prospective federal employees and contractors). Cole Decl. III
                                                           4   ¶¶ 6-7, Exs. C-D. Similarly, after tax season it was reported that over 300,000 taxpayer accounts
                                                           5   had been illegally accessed through the IRS “Get Transcript” service since February 2015. See
                                                           6   id. ¶ 5, Ex. B. Third-party criminals acquire PII illegally through any number of such sources,
                                                           7   and share or sell it on underground forums, making it accessible to other fraudsters.
                                                           8           Criminals also exploit consumers’ tendency to re-use the same IDs and passwords across
                                                           9   different websites by logging on to various websites (including Intuit’s) using credentials illegally
                                                          10   acquired elsewhere, including through malware or phishing scams. TCAC ¶¶ 26, 77, n.38. The
                                                          11   TCAC itself alleges that from 2014 to March 2015, hundreds of millions of consumers’ PII had
                                                          12   been exposed in other companies’ data breaches. Id. ¶ 31, nn.8-14. The growth in stolen PII
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                                                          13   continued during the 2015 tax season. Cole Decl. III ¶¶ 5-7, Exs. B-D. In this regard, the
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                                                          14   increase in SIRF and ATOs is reflective of a nationwide phenomenon and is neither specific to
                                                          15   Intuit nor the result of any Intuit data breach.
                                                          16   B.      Intuit
                                                          17           Intuit develops and offers various financial and tax preparation software and related
                                                          18   services, including the well-known tax preparation software TurboTax. TCAC ¶¶ 9, 20.
                                                          19   TurboTax, offered in online and desktop versions, is utilized by millions of taxpayers each year to
                                                          20   file their federal and state tax returns. Id. ¶¶ 21-23. As a provider of do-it-yourself tax
                                                          21   preparation software and as an authorized IRS e-file provider, Intuit is subject to a complex
                                                          22   federal regulatory environment, including certain provisions of the IRC, its attendant regulations,
                                                          23   and published IRS guidance. See, e.g., Section 7216; 26 C.F.R. § 301.7216; Cole Decl. III ¶¶ 8-9,
                                                          24   Exs. E-F (IRS Pubs. 1345 and 3112). This regulatory environment does not permit a do-it-
                                                          25   yourself tax software provider like Intuit to use taxpayer information to block returns from being
                                                          26   e-filed unless the IRS has provided direct guidance. See, e.g., Section 7216(a) (prohibiting any
                                                          27   person engaged in “providing services in connection with the preparation of [tax returns]” from
                                                          28   “us[ing] any such information for any purpose other than to prepare, or assist in preparing, any

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                                                           1   such return”); see also IRS Pub. 1345. Rather, it generally provides two exceptions for when
                                                           2   Intuit may stop a return from being filed: (1) when there is an attempt to file a second return
                                                           3   using the same Taxpayer Identification Number (e.g., SSN); and (2) when more than five
                                                           4   electronic returns are filed from one software package or one e-mail address. IRS Pub. 1345 at
                                                           5   12, 43. In all but these two circumstances, Intuit must “[t]ransmit all electronic portions of
                                                           6   returns within three calendar days of receipt.” Id. at 34.
                                                           7          Intuit also is subject to rules and regulations governing the privacy and security of
                                                           8   taxpayer information. For example, the IRS mandates six “security, privacy and business
                                                           9   standards to better serve taxpayers and protect [the taxpayer] information collected, processed and
                                                          10   stored by Online [e-file] Providers.” Id. at 5-6. Such standards “are based on industry best
                                                          11   practices and are intended to supplement the [GLBA] and the implementing rules and regulations
                                                          12   promulgated by the [FTC].” Id.; see also, e.g., IRS Pub. 3112 at 18; 16 C.F.R. § 314 (FTC
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                                                          13   Safeguards Rule). Plaintiffs still do not (and cannot) allege that Intuit ever failed to meet any
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                                                          14   statutory or regulatory obligation with respect to its use and safeguarding of taxpayer information
                                                          15   generally, or with respect to Plaintiffs’ PII specifically. Moreover, Plaintiffs allege they are SIRF
                                                          16   victims only. TCAC ¶¶ 108-134. In other words, Plaintiffs allege that fraudsters used stolen PII
                                                          17   obtained elsewhere (and not from Intuit) to open TurboTax accounts and file fraudulent returns.
                                                          18   Id. ¶ 26 (contrasting SIRF with ATOs).
                                                          19          It is important to understand the distinct roles government and private industry play in the
                                                          20   tax ecosystem. Fraudulent returns and suspicious returns are not synonymous, and as an e-file
                                                          21   provider Intuit is not empowered to reach a determination whether suspicious activity is fraud—
                                                          22   only the IRS or equivalent state taxing authority determines which returns are fraudulent and
                                                          23   whether to accept or reject a return. See Cole Decl. III ¶ 10. Ex. G (IRS describing “clear lines of
                                                          24   distinction between the roles [government and the private sector] play in the tax ecosystem” and
                                                          25   how “[i]ndustry is providing essential help by sharing key information” to “allow the government
                                                          26   to quickly and accurately make determinations of what is fraudulent and what is not”); see also
                                                          27   id. ¶ 11, Ex. H. As a result, even if Intuit were to believe a return may be suspicious, the
                                                          28   regulatory framework severely limits Intuit’s options related to that return. As described above,

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                                                           1   in the vast majority of cases, Intuit is bound by federal regulation to submit the return to the IRS.
                                                           2   The IRS itself recognizes that the entire tax system faces ongoing and growing challenges to
                                                           3   protect taxpayers from refund fraud, and the need for joint efforts with States and private industry
                                                           4   to combat tax fraud. See id.; see also id. ¶ 10 Ex. G.
                                                           5   C.     Plaintiffs
                                                           6          Non-Customer Plaintiff Brown. Brown alleges he was never a TurboTax customer.
                                                           7   TCAC ¶ 108. He never used TurboTax, never provided his PII or paid money to Intuit, and has
                                                           8   no relationship with Intuit. Id. He alleges he was a SIRF victim in TY14. Id. ¶ 109. Brown
                                                           9   alleges that
                                                          10                                                                                   Id. ¶ 111.
                                                          11          TY10 Customer Plaintiff Diaz. In 2011, Diaz purchased TTD and used it to e-file her
                                                          12   TY10 Ohio state and federal tax returns. See id. ¶¶ 119-120. Since then, she has not used
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                                                          13   TurboTax. Id. ¶ 121. Diaz alleges she is a SIRF victim in TY14. Id. ¶ 122. Diaz alleges that
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                                                          14

                                                          15                                                                      “[i]n or about late 2010 or early
                                                          16   2011.” Id. ¶¶ 119, 124.
                                                          17   D.     Plaintiffs’ Alleged Harm
                                                          18          Neither of the Plaintiffs allege any physical harm or injury to property. Id. ¶¶ 116-18,
                                                          19   131-34. Nor do they allege that they did not receive their TY14 tax refunds. Id. Rather, they
                                                          20   allege various intangible or economic harms, including: lost time dealing with the “ramifications
                                                          21   of the fraud”; inability to e-file; hardship from receiving a delayed refund; being at heightened
                                                          22   risk of further identity theft; and costs of credit monitoring. Id. ¶¶ 116-118, 131-134. Plaintiffs
                                                          23   do not delineate which of their purported injuries arise from the prior theft of their PII, the
                                                          24   creation of fraudulent TurboTax accounts, or the alleged fraudulent tax returns.
                                                          25                                      IV. LEGAL STANDARD
                                                          26          A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of claims alleged in the
                                                          27   complaint, and dismissal is appropriate if plaintiff fails to assert a cognizable legal theory or
                                                          28   allege sufficient facts under a cognizable legal theory. Parks Sch. of Bus., Inc. v. Symington, 51

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                                                           1   F.3d 1480, 1484 (9th Cir. 1995); SmileCare Dental Grp. v. Delta Dental Plan of Cal., Inc., 88
                                                           2   F.3d 780, 782-83 (9th Cir. 1996). A plaintiff must provide more than “labels and conclusions,
                                                           3   and a formulaic recitation of the elements of a cause of action” and must allege facts that, if true,
                                                           4   raise the right to relief “above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
                                                           5   555 (2007). Courts need not accept as true conclusory allegations, unwarranted deductions of
                                                           6   fact, or unreasonable inferences. Gonzalez v. Planned Parenthood of L.A., 759 F.3d 1112, 1115
                                                           7   (9th Cir. 2014). Nor must courts accept as true allegations contradicted by documents and
                                                           8   materials referred to in the complaint. Colony Cove Props., LLC v. City of Carson, 640 F.3d 948,
                                                           9   955 (9th Cir. 2011). A court may consider the complaint, documents attached or incorporated by
                                                          10   reference, and any matter subject to judicial notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
                                                          11   551 U.S. 308, 322 (2007).
                                                          12                                            V. ARGUMENT
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                                                          13   A.       Plaintiffs Do Not State a Claim for Aiding and Abetting Fraud (Third Count)
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                                                          14            To state a claim for aiding and abetting an intentional tort, Plaintiffs must plead that the

                                                          15   defendant: (1) had actual knowledge of the specific primary wrong; and (2) substantially assisted

                                                          16   in causing the harm suffered.6 Casey v. U.S. Bank Nat’l Ass’n, 127 Cal. App. 4th 1138, 1145

                                                          17   (2005). These elements are subject to the heightened pleading requirements of Rule 9(b). S.E.C.

                                                          18   v. Berry, 580 F. Supp. 2d 911, 923-24 (N.D. Cal. 2008). Substantial assistance must be pled with

                                                          19   particularity, while actual knowledge may be averred generally. Fed. R. Civ. P. 9(b); Allstate Ins.

                                                          20   Co. v. Countrywide Fin. Corp., 824 F. Supp. 2d 1164, 1188 (C.D. Cal. 2011).

                                                          21            This Court has already dismissed Plaintiffs’ aiding-and-abetting claim once:

                                                          22             Plaintiffs’ allegations are insufficient to establish a claim for aiding and abetting.
                                                                         Plaintiffs have not alleged that Intuit intentionally transmitted fraudulent returns in their
                                                          23             names or their Social Security numbers to taxing authorities. Plaintiffs instead allege
                                                                         that Intuit could determine if a return looked “suspicious,” but suspicious does not
                                                          24             amount to actual knowledge of fraud. Nor have Plaintiffs alleged that Intuit gave
                                                                         substantial assistance to the alleged fraud perpetuated against Brown and Diaz . . . . In
                                                          25             this case, Plaintiffs allege that Intuit aided and abetting [sic] by failing to implement
                                                          26
                                                               6
                                                                 For this Motion only, Intuit presumes Plaintiffs intend for California law to apply to all claims.
                                                          27   In so doing, Intuit does not concede, and continues to reserve, its rights to contest the applicability
                                                               of California law to one or more of the Plaintiffs’ claims, including on class certification.
                                                          28

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                                                           1            adequate measures: to verify taxpayer information when an account is created or a return
                                                                        is filed; to notify taxpayers and IRS and other taxing authorities of returns that were
                                                           2            fraudulent or suspicious; or to time report data regarding suspicious filings to the IRS
                                                                        and state taxing agencies. In general, failure to act does not constitute substantial
                                                           3            assistance for purposes of aiding and abetting.
                                                           4   Order at 7:19-8:5. Plaintiffs’ amended allegations fare no better.

                                                           5          1.      Plaintiffs Have Not Pled Actual Knowledge

                                                           6          As this Court previously held, an aiding-and-abetting claim requires Plaintiffs to allege

                                                           7   that Intuit possessed actual knowledge of the underlying tort. Order at 7:22; Casey, 127 Cal.

                                                           8   App. 4th at 1152. A mere suspicion “does not amount to actual knowledge of fraud.” Order at

                                                           9   7:22; In re First Alliance Mortg. Co., 471 F.3d 977, 993 n.4 (9th Cir. 2006). “[A]iding and

                                                          10   abetting . . . necessarily requires a defendant to reach a conscious decision to participate in

                                                          11   tortious activity for the purpose of assisting another in performing a wrongful act.” Casey, 127

                                                          12   Cal. App. 4th at 1146-52 (emphases in original) (citation omitted) (holding bankruptcy trustee
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                                                               failed to state aiding and abetting claim against banks for allegedly facilitating looting by
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                                                          14   fiduciaries where plaintiff only generally alleged bank knew fiduciaries were involved in

                                                          15   “wrongful or illegal conduct,” but did not plead actual, specific knowledge); Chance World

                                                          16   Trading E.C. v. Heritage Bank of Commerce, 438 F. Supp. 2d 1081, 1087 (N.D. Cal. 2005)

                                                          17   (under California law, “knowledge of the underlying tort is an essential element of” a claim for

                                                          18   aiding and abetting), aff’d, 263 F. App’x 630 (9th Cir. 2008). Without allegations that Intuit

                                                          19   knew the specific returns using Plaintiffs’ PII were fraudulent, this claim fails. See Casey, 127

                                                          20   Cal. App. 4th at 1152 (dismissing aiding and abetting claim where there were no allegations

                                                          21   banks knew source of the funds deposited into accounts).

                                                          22          Plaintiffs fail to plead that Intuit had actual knowledge that the returns filed in Plaintiffs’

                                                          23   names were fraudulent when filed. The TCAC alleges that Intuit should have known that the tax

                                                          24   return filed in Plaintiff Brown’s name was fraudulent because

                                                          25                                                                                                 TCAC

                                                          26   ¶ 111 (emphasis added). As a preliminary matter, Plaintiffs do not allege that

                                                          27

                                                          28

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                                                           1   Plaintiffs thus fail to allege that Intuit had actual knowledge
                                                           2                                                                                         Rather, as
                                                           3   reflected in Plaintiffs’ own allegations, Intuit
                                                           4         But the mere risk or suspicion of fraud does not translate into actual knowledge of fraud.
                                                           5   See Order at 7:22; In re First Alliance Mortg. Co., 471 F.3d at 993 n.4. And even if it did,
                                                           6   Plaintiffs’ argument suffers from a fatal flaw:
                                                           7

                                                           8   Darke Decl. ¶ 5, Ex. 1. Plaintiffs cannot rely on
                                                           9                                                                            Further, even if Intuit
                                                          10

                                                          11   Intuit would not have been permitted under the IRS regulations to do anything other than transmit
                                                          12   the returns within three days. See IRS Pub. 1345 at 34.
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                                                          13          The TCAC also fails to allege that Intuit had actual knowledge that tax returns submitted
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                                                          14   in Plaintiff Diaz’s name were fraudulent. Plaintiffs allege that Intuit should have known that the
                                                          15   tax returns were fraudulent because
                                                          16

                                                          17                            “[i]n or about late 2010 or early 2011.” TCAC ¶¶ 119, 124. But there is
                                                          18   nothing inherently suspicious about
                                                          19

                                                          20

                                                          21                                                                            Id. ¶ 124. Tax preparation
                                                          22   is a complex process, and legitimate taxpayers may wish to model multiple tax return scenarios
                                                          23   before proceeding to file. To take just one example, IRS guidance on selecting the appropriate
                                                          24   filing status expressly states that a married taxpayer “may want to prepare their taxes both ways
                                                          25   [i.e., as married filing jointly and married filing separately] before they choose.” Cole Decl. III
                                                          26   ¶ 15, Ex. L.
                                                          27

                                                          28                                                             TCAC ¶ 124.

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                                                           1           Plaintiffs also attempt to infer knowledge from the fact that (1) the apparent taxpayer
                                                           2   attempted to file the tax returns,
                                                           3

                                                           4

                                                           5            TCAC ¶ 124. Nothing in this sequence of events is remotely indicative of fraud. Indeed,
                                                           6

                                                           7

                                                           8                                                Cole Decl. III ¶ 16, Ex. M. Finally, Plaintiffs make
                                                           9   much of the fact that Intuit, in response to discovery requests regarding specific users (i.e., the
                                                          10   named Plaintiffs), could use information provided by
                                                          11

                                                          12                                                 TCAC ¶ 124. But Plaintiffs do not allege that Intuit
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                                                          15                            In short, none of the newly alleged facts included in the TCAC
                                                          16   demonstrate that Intuit had reason to suspect any of the tax returns filed in Diaz’s name were
                                                          17   fraudulent, let alone that Intuit had actual knowledge that the returns were fraudulent.
                                                          18           The TCAC also alleges that Intuit generally knew that TurboTax could be used to submit
                                                          19   fraudulent tax returns, but it again fails to cite any instances where, at the time of filing, Intuit had
                                                          20   actual knowledge that a specific tax return was fraudulent. At best, Plaintiffs allege that Intuit
                                                          21   was aware of risk factors that might affect the likelihood that a given tax return was fraudulent.
                                                          22   See, e.g., TCAC ¶¶ 43-45. But Plaintiffs do not—and cannot—allege that any of these risk
                                                          23   factors are associated exclusively with fraudulent tax returns such that no legitimate tax return
                                                          24   would ever exhibit similar characteristics. Thus, Plaintiffs fail to allege that Intuit could
                                                          25   distinguish, with complete certainty, legitimate and fraudulent tax returns at the time of filing or
                                                          26   that Intuit possessed the authority under federal law and regulations to intervene in the filing of
                                                          27   these returns. The TCAC thus fails to allege actual knowledge of fraud. See E-Shops Corp. v.
                                                          28   U.S. Bank Nat’l Ass’n, 678 F.3d 659, 664 (8th Cir. 2012) (affirming dismissal where plaintiff

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                                                           1   failed to plead bank knew information processed from cardholders was false at time of receipt);
                                                           2   Casey, 127 Cal. App. at 1149 (allegations that defendant knew “something fishy” was going on
                                                           3   insufficient to support actual knowledge because “suspicion and surmise do not constitute actual
                                                           4   knowledge” (citation omitted)); see also Litson-Gruenber v. JPMorgan Chase & Co., No. CIV.A.
                                                           5   7:09-CV-056-0, 2009 WL 4884426, at *2 (N.D. Tex. Dec. 16, 2009) (allegations setting forth
                                                           6   “merely a story of suspicious activity” could not support California aider and abettor claim).
                                                           7          Plaintiffs’ conclusory allegations that Intuit provided a fee payment mechanism that
                                                           8   allowed fraudsters to file fraudulent returns without financial outlay and that it allowed customers
                                                           9   to deposit tax refunds directly onto a prepaid debit card are also insufficient to plead actual
                                                          10   knowledge. TCAC ¶¶ 227-28, 231. Intuit’s refund transfer mechanism serves a legitimate
                                                          11   business purpose by allowing consumers to avoid out-of-pocket costs for tax return preparation
                                                          12   services in the event that an upfront payment would constitute a hardship. It also allows
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                                                          13   unbanked consumers without debit cards or credit cards to file tax returns through TurboTax.
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                                                          14   Prepaid debit cards also serve a legitimate purpose by allowing taxpayers to get their money
                                                          15   faster, removing the possibility of a tax refund check being lost or stolen, and helping taxpayers
                                                          16   avoid check-cashing fees. Allowing refund transfers and tax refunds to be deposited onto prepaid
                                                          17   cards is not unique to Intuit; tax preparers like H&R Block, Jackson Hewitt, and Liberty Tax all
                                                          18   offer similar services. Cole Decl. ¶¶ 17-19, Exs. N-P. The refund transfer mechanism and
                                                          19   offering returns on prepaid cards cannot constitute actual knowledge of fraud by Intuit simply
                                                          20   because it could theoretically be used by fraudsters for nefarious purposes. Cf., Camp v. Dema,
                                                          21   948 F.2d 455, 459 (8th Cir. 1991) (“A party who engages in atypical business transactions or
                                                          22   actions which lack business justification may be found liable as an aider and abettor with a
                                                          23   minimal showing of knowledge,” citing Woods v. Barnett Bank of Ft. Lauderdale, 765 F.2d 1004,
                                                          24   1010 (11th Cir. 1985) (emphasis added)); Woodward v. Metro Bank of Dallas, 522 F.2d 84, 97
                                                          25   (5th Cir. 1975) (“Conversely, if the method or transaction is atypical or lacks business
                                                          26   justification, it may be possible to infer the knowledge necessary for aiding and abetting
                                                          27   liability”) (emphases added). And although an unusual or extraordinary financial incentive can
                                                          28   be a consideration in gauging a defendant’s alleged knowledge and substantial assistance (Neilson

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                                                           1   v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1128 (C.D. Cal. 2003)), the financial incentive
                                                           2   alleged by Plaintiffs cannot give rise to an inference of actual knowledge by Intuit. “Courts have
                                                           3   consistently found that allegations of ordinary economic motives are insufficient to plead a strong
                                                           4   financial motive to aid [] fraud, and are not a substitute for pleading actual knowledge of the
                                                           5   primary wrongdoing.” In re Sharp Int’l Corp., 281 B.R. 506, 516 (Bankr. E.D.N.Y. 2002), aff’d,
                                                           6   302 B.R. 760 (E.D.N.Y. 2003), aff’d, 403 F.3d 43 (2d Cir. 2005).
                                                           7          2.      Plaintiffs Have Not Pled Substantial Assistance
                                                           8          An aiding-and-abetting claim requires Plaintiffs to plead Intuit provided “substantial
                                                           9   assistance” to the alleged fraud. Order at 7:14-8:11; Casey, 127 Cal. App. 4th at 1145. As this
                                                          10   Court noted in dismissing the SCAC, “failure to act does not constitute substantial assistance for
                                                          11   purposes of aiding and abetting liability.” Order at 8:4-5 (citations omitted); see also Fiol v.
                                                          12   Doellstedt, 50 Cal. App. 4th 1318, 1326 (1996) (“Mere knowledge that a tort is being committed
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                                                          13   and the failure to prevent it does not constitute aiding and abetting.”). Rather, substantial
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                                                          14   assistance requires a “significant and active, as well as a knowing participation in the wrong.”
                                                          15   Alfus v. Pyramid Tech. Corp., 745 F. Supp. 1511, 1520 (N.D. Cal. 1990) (citation omitted); see
                                                          16   also Howard v. Superior Court, 2 Cal. App. 4th 745, 749 (1992) (aiding and abetting “necessarily
                                                          17   requires a defendant to reach a conscious decision to participate in tortious activity for the
                                                          18   purpose of assisting another in performing a wrongful act”). California law recognizes a narrow
                                                          19   exception to the general rule requiring an affirmative act, but only where the party failing to act
                                                          20   owes a fiduciary or statutory duty to the plaintiffs. See Cal. Architectural Bldg. Prod., Inc. v.
                                                          21   Franciscan Ceramics, Inc., 818 F.2d 1466, 1472 (9th Cir. 1987); Impac Warehouse Lending Grp.
                                                          22   v. Credit Suisse First Boston Corp., No. SA CV 04-1234 AHS (CWX), 2006 WL 6935318, at *8
                                                          23   (C.D. Cal. June 20, 2006), aff’d, 270 F. App’x 570 (9th Cir. 2008) (“A defendant provides
                                                          24   substantial assistance when it ‘affirmatively assists, helps conceal, or by virtue of failing to act
                                                          25   when required to do so enables the fraud to proceed.’” (citation omitted)).
                                                          26          The TCAC again fails to allege substantial assistance because the allegations focus on
                                                          27   what Intuit failed to do. See, e.g., TCAC ¶¶ 228 (alleging that Intuit’s “deficient” protocols,
                                                          28   policies, and practices encouraged and enabled fraud); 229 (alleging there were measures Intuit

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                                                           1   “could” have taken to prevent fraud); 233 (alleging Intuit “fail[ed]” to provide timely notice of
                                                           2   fraud to Plaintiffs, purported class members and the relevant tax agencies); 240 (same); 237
                                                           3   (alleging Intuit maintained “deficient” authorization and security protocols); 238 (same).
                                                           4   Plaintiffs attempt to sidestep the Court’s prior order by pleading omissions in the affirmative.
                                                           5   See, e.g., TCAC ¶¶ 228-29 (alleging that Intuit had “affirmative policies and practices” that were
                                                           6   “deficient”). But artful pleading does not circumvent the rule that aiding and abetting requires
                                                           7   more than the mere failure to prevent a tort. See Order at 7:26-8:10.
                                                           8          Plaintiffs also try to plead around this rule by repeating the vague and unsubstantiated
                                                           9   assertion that Intuit owes them a duty that is “fiduciary both in nature and spirit.” TCAC ¶ 84.
                                                          10   But this is unavailing, since Intuit, as a do-it-yourself tax software and IRS e-file provider is not a
                                                          11   fiduciary to any taxpayers, whether customers or not. See, e.g., Nwabueze v. AT&T Inc., No. C
                                                          12   09-1529 SI, 2011 WL 332473, at *20 (N.D. Cal. Jan. 29, 2011) (refusing to find fiduciary
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                                                          13   relationship where customers had provided confidential information to AT&T); Comm. on
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                                                          14   Children’s Television v. Gen. Foods Corp., 35 Cal. 3d 197, 221-22 (1983) (noting seller to buyer
                                                          15   relationship is “not one ordinarily vested with fiduciary obligation”).
                                                          16          Plaintiffs allege three ways in which Intuit purportedly rendered affirmative assistance to
                                                          17   fraudsters: (1) Intuit transmitted tax returns that Plaintiffs allege were “suspicious”; (2) Intuit
                                                          18   allowed customers to avoid upfront tax preparation fees by deducting such fees from their refund;
                                                          19   and (3) Intuit allowed customers to deposit tax refunds directly onto a prepaid debit card rather
                                                          20   than depositing the funds into a bank account or waiting to receive a paper check. TCAC ¶¶ 228,
                                                          21   231-32. The first so-called “affirmative act” does not constitute substantial assistance because
                                                          22   Intuit is required by law to “[t]ransmit all electronic portions of returns within three calendar days
                                                          23   of receipt.” IRS Pub. 1345 at 34. And Plaintiffs have not alleged how an act that is a legal
                                                          24   obligation can establish substantial assistance for purposes of an aiding and abetting fraud claim.
                                                          25   As previously discussed, supra at Part V.A.1, allowing customers to deduct tax preparation fees
                                                          26   from their refunds serves a legitimate business purpose by allowing customers to avoid an upfront
                                                          27   and out-of-pocket payment that may present a hardship. Similarly, depositing tax refunds onto
                                                          28   prepaid debit cards removes a significant obstacle for taxpayers who may be unbanked. Id.

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                                                           1   These policies make tax preparation services and refunds more accessible to all taxpayers, even
                                                           2   if, as Plaintiffs suggest, they are susceptible to potential fraud. Such allegations do not constitute
                                                           3   substantial assistance because adoption of generally applicable policies in “ordinary business
                                                           4   transactions,” without actual knowledge of the fraud, does not constitute “significant and active”
                                                           5   participation in the fraud. See In re Mortg. Fund '08 LLC, 527 B.R. 351, 365 (N.D. Cal. 2015)
                                                           6   (dismissing aiding and abetting claim under California law); Casey, 127 Cal. App. 4th at 1145.
                                                           7           In any case, to the extent the TCAC can be construed as alleging affirmative conduct by
                                                           8   adopting policies that enabled and encouraged tax fraud, see, e.g., ¶¶ 228-29, 231-32, Plaintiffs
                                                           9   have not pleaded that Intuit substantially assisted in fraud with the requisite particularity. Fed R.
                                                          10   Civ. P. ¶ 9(b). Plaintiffs have not identified a single third-party who opened the fraudulent
                                                          11   accounts or filed fraudulent returns in Plaintiffs’ names, much less who stole their PII in the first
                                                          12   instance (or when or how). Without specific allegations regarding who engaged in the underlying
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                                                          13   fraud, Plaintiffs’ aiding and abetting claim must fail. See E-Shops Corp. v. U.S. Bank Nat’l Ass’n,
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                                                          14   795 F. Supp. 2d 874, 877 (D. Minn. 2011) (dismissing claim against bank that issued credit cards
                                                          15   allegedly used in fraudulent purchases where plaintiff failed to plead who had engaged in alleged
                                                          16   fraudulent conduct; general allegations that unspecified third parties engaged in fraud
                                                          17   insufficient); see also Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (plaintiff must
                                                          18   plead “time, place and specific content of the false representations as well as the identities of the
                                                          19   parties to the misrepresentations”) (citation and quotations omitted; emphasis added). The aiding
                                                          20   and abetting claim should be dismissed.
                                                          21   B.      Plaintiff Brown Fails to State a Claim of Negligence (Count Two)
                                                          22           To state a claim for negligence, Plaintiff Brown must plead that (1) Intuit owed him a duty
                                                          23   of care; (2) Intuit breached its duty; and (3) the breach proximately caused the resulting injury.
                                                          24   Order at 4:25-5:2 (citing Ladd v. Cnty. of San Mateo, 12 Cal. 4th 913, 917 (1996)). Determining
                                                          25   whether a legal duty exists “is a ‘question of law’ which is simply an expression of the sum total
                                                          26   of the policy considerations that lead a court to conclude that a particular plaintiff is entitled to
                                                          27   protection.” Order at 5:2-5 (quoting Ileto v. Glock Inc., 349 F.3d 1191, 1203 (9th Cir. 2003)). In
                                                          28   determining whether to impose a legal duty, courts consider the factors in Rowland v. Christian,

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                                                           1   69 Cal. 2d 108 (1968), including:
                                                           2      [F]oreseeability of harm to the plaintiff, the degree of certainty that the plaintiff suffered
                                                                  injury, the closeness of the connection between the defendant’s conduct and the injury
                                                           3      suffered, the moral blame attached to the defendant’s conduct, the policy of preventing
                                                                  future harm, the extent of the burden to the defendant and consequences to the community
                                                           4      of imposing a duty to exercise care with resulting liability for breach, and the availability,
                                                                  cost, and prevalence of insurance for the risk involved.
                                                           5

                                                           6   Id. at 113. The first three factors “address the foreseeability of the relevan[t] injury” while the
                                                           7   other four “take into account public policy concerns that might support excluding certain kinds of
                                                           8   plaintiffs or injuries from relief.” Vasilenko v. Grace Family Church, 3 Cal. 5th 1077, 1200
                                                           9   (2017).
                                                          10             The Court previously held that the alleged injury was not reasonably foreseeable because
                                                          11   Brown was “not a TurboTax customer and never provided personal identifying information to
                                                          12   Intuit,” and because Brown failed to allege “‘suspicious circumstances’ or ‘danger signals’ that
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                                                          13   would have or should have placed Intuit on notice that a fraudster was opening a TurboTax
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                                                          14   account in his name.” Order at 5:21-6:17. As such, policy considerations weighed against
                                                          15   imposing a duty of care on Intuit to Brown. The TCAC suffers from the same defects as the
                                                          16   SCAC, including that Brown has failed to identify any “suspicious circumstances” about the
                                                          17   account or filing such that Intuit should have known that it was created by a fraudster and policy
                                                          18   reasons continue to militate against imposing an ad hoc duty of care that would interfere with the
                                                          19   highly regulated tax administration system.
                                                          20             In short, “Brown has not alleged facts explaining how Intuit could have or should have
                                                          21   known that the account(s) opened in Brown’s name were fraudulent.” Order at 5:24-26. Brown’s
                                                          22   negligence claim should therefore be dismissed.
                                                          23             1.     The Alleged Harm to Non-Customer Plaintiff Brown Was Not Reasonably
                                                          24                    Foreseeable
                                                                         “[T]he chief element in determining whether [a] defendant owes a duty or an obligation to
                                                          25
                                                               plaintiff is the foreseeability of the risk.” Dillon v. Legg, 68 Cal. 2d 728, 740 (1968); Tarasoff v.
                                                          26
                                                               Regents of Univ. of Cal., 17 Cal. 3d 425, 434-35 (1976) (“The most important of these
                                                          27
                                                               considerations in establishing duty is foreseeability.”). To determine duty, a court does not
                                                          28

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                                                           1   decide if “a particular plaintiff’s injury was reasonably foreseeable in light of a particular
                                                           2   defendant’s conduct” but rather evaluates more generally if “the category of negligent conduct at
                                                           3   issue is sufficiently likely to result in the kind of harm experienced.” Ballard v. Uribe, 41 Cal. 3d
                                                           4   564, 572-73 n.6 (1986) (emphases in original).
                                                           5            As the Court previously held, there is no general duty to protect an individual from the
                                                           6   wrongful conduct of a third party. Order at 5:14-15 (citing Tarasoff, 17 Cal. 3d at 434-35).
                                                           7   Indeed, California courts generally refuse to impose a duty of care in the identity theft or fraud
                                                           8   context, finding the harm alleged is not reasonably foreseeable where there is no direct
                                                           9   relationship between the parties and no allegations that the defendant ignored objective indicia of
                                                          10   fraud. See, e.g., QDOS, Inc. v. Signature Fin., LLC, No. B279475, 2017 WL 5793973, at *7 (Cal.
                                                          11   Ct. App. Nov. 29, 2017) (no duty for merchant to investigate whether check was fraudulent when
                                                          12   presented with a validly endorsed check made out to merchant, drawn from account of third
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                                                          13   party); Burns v. Neiman Marcus Grp., Inc., 173 Cal. App. 4th 479, 488-90 (2009) (no duty to
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                                                          14   non-customer to inquire before accepting third-party checks where third party used non-
                                                          15   customer’s checks to pay off credit card); Casey, 127 Cal. App. 4th at 1149 (“[A] bank owes no
                                                          16   duty to nondepositors to investigate or disclose suspicious activities on the part of an account
                                                          17   holder.”); Karen Kane, Inc. v. Bank of America, 67 Cal. App. 4th 1192, 1199 (1998) (neither
                                                          18   defendant check cashing service nor defendant bank owed a duty of inquiry to a non-customer
                                                          19   with whom neither had a preexisting relationship, despite unconventional or unorthodox
                                                          20   endorsements on the allegedly forged checks). Courts in other jurisdictions have similarly
                                                          21   declined to impose a common law duty to protect non-customers’ PII and prevent third-party
                                                          22   crimes as the harm is not reasonably foreseeable.7
                                                          23
                                                               7
                                                                 See, e.g., Lerner v. Fleet Bank, N.A., 459 F.3d 273, 286 (2d Cir. 2006) (“As a general matter,
                                                          24   ‘[b]anks do not owe non-customers a duty to protect them from the intentional torts of their
                                                               customers.’” (citation omitted)); Eisenberg v. Wachovia Bank, N.A., 301 F.3d 220, 226 (4th Cir.
                                                          25   2002) (“[B]anks do not owe a duty of care to noncustomers even when the noncustomer is the
                                                               person in whose name an account was fraudulently opened.”); Landale Signs & Neon, Ltd. v.
                                                          26   Runnion Equip. Co., No. 16-CV-7619, 2016 WL 7409916, at *2-3 (N.D. Ill. Dec. 22, 2016)
                                                               (finding no common law duty to safeguard another’s personal information and dismissing
                                                          27   negligence claim); Willingham v. Global Payments, Inc., No. 1:12-cv-01157-RWS, 2013 WL
                                                               440702, at *18 (N.D. Ga. Feb. 5, 2013) (finding no duty of care owed to plaintiffs who sued
                                                          28

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                                                           1          Banking cases are particularly illustrative of this nationwide trend. For example, in Sun ‘n
                                                           2   Sand, Inc. v. United Cal. Bank, Sun ‘n Sand brought a negligence claim against defendant bank,
                                                           3   who permitted an employee of Sun ‘n Sand to deposit checks into the bank employee’s personal
                                                           4   account that were written by Sun ‘n Sand and payable to defendant. 21 Cal. 3d 671, 679 (1978).
                                                           5   The California Supreme Court imposed on the bank a “narrowly circumscribed” duty to non-
                                                           6   customers only where the defendant was presented with objective indicia of fraud. Id. at 695.
                                                           7   The Court found the specific circumstances of the deposit were “sufficiently suspicious” as to
                                                           8   give rise to a “reasonably foreseeable” risk of loss to the plaintiff, which triggered a duty of
                                                           9   inquiry to verify the employee’s authority to make deposits into her account. Id. at 694-95. The
                                                          10   duty of inquiry was only triggered in these limited circumstances. Later courts applying the logic
                                                          11   of Sun ‘n Sand have declined to find that a bank has a duty to a non-customer where there are no
                                                          12   such “suspicious circumstances” or other objective indicia of fraud that would have placed the
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                                                          13   bank on notice, reiterating that the duty was narrow. See, e.g., QDOS, Inc, 2017 WL 5793973, at
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                                                          14   *6 (rejecting plaintiff’s argument that Sun ‘n Sand compelled the court to find a duty, noting the
                                                          15   circumstances in Sun ‘n Sand were “far more suspicious, and far less common,” than the more
                                                          16   routine transaction at issue, and that “Sun ‘n Sand itself acknowledged that the duty it was
                                                          17   recognizing was ‘narrowly circumscribed’”); Software Design & Application, Ltd. v. Hoefer &
                                                          18   Arnett, Inc., 49 Cal. App. 4th 472, 479-82 (1996) (finding bank had no duty to non-customer
                                                          19   investors to verify authorization of an individual to open a partnership account and noting that
                                                          20   “absent extraordinary and specific facts, a bank does not owe a duty of care to a noncustomer”);
                                                          21   Chazen v. Centennial Bank, 61 Cal. App. 4th 532, 545 (1998) (finding bank had no duty to non-
                                                          22   customers because there was no “foreseeable risk of harm to [such] third parties,” holding that
                                                          23   “Sun ‘n Sand and its progeny have held banks to be subject to a duty of care toward non-
                                                          24   electronic payment processing service following data breach where there was no direct
                                                               relationship between plaintiff and defendant); Worix v. MedAssets, Inc., 869 F. Supp. 2d 893,
                                                          25   897-98 (N.D. Ill. 2012) (no common law duty to reasonably handle and safeguard patient medical
                                                               information); Smith v. Citibank (S.D.), N.A., No. 00–0587–CV–W–1–ECF, 2001 WL 34079057,
                                                          26   at *2 (W.D. Mo. Oct. 3, 2001) (no duty to non-customer plaintiff where imposter applied for and
                                                               received credit card in plaintiff’s name); Polzer v. TRW, Inc., 682 N.Y.S.2d 194, 195 (N.Y. App.
                                                          27   Div. 1998) (dismissing negligence claim because bank had no special relationship with plaintiffs
                                                               or with imposter who stole plaintiffs’ PII and fraudulently obtained credit cards).
                                                          28

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                                                           1   depositors only in narrow factual circumstances”).
                                                           2             Sun ‘n Sand and its progeny hold that the foreseeability of harm to non-customers requires
                                                           3   objective indicia of fraud. Brown points to the fact that
                                                           4

                                                           5                                                                                TCAC ¶ 111 (emphasis
                                                           6   added). But this allegation is not objective indicia of fraud and is insufficient to trigger a
                                                           7   “narrowly circumscribed” duty to protect a non-customer like Brown against fraud caused by
                                                           8   third parties who obtained his information from outside Intuit. See Sun ‘n Sand, Inc, 21 Cal. 3d at
                                                           9   695.
                                                          10             First, the fact that                                                              does not
                                                          11   constitute objective indicia of fraud. The
                                                          12                                                                                           8
                                                                                                                                                            Brown
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                                                          13   does not – and cannot –
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                                                          14

                                                          15   The allegations here stand in stark contrast to the clear and obvious red flags at issue in Sun ‘n
                                                          16   Sand, where a rogue employee deposited checks into her personal account even though the checks
                                                          17   were expressly made payable to the defendant bank. Taken to its logical conclusion, the duty
                                                          18   Brown seeks to impose here would require Intuit to
                                                          19

                                                          20                                                    TCAC ¶ 111. Such a duty goes far beyond the
                                                          21   “narrowly circumscribed” duty announced by Sun ‘n Sand. 21 Cal. 3d at 695.
                                                          22             Second, even if a
                                                          23

                                                          24                                                               TCAC ¶ 111. However, the document
                                                          25   cited by Brown indicates that
                                                          26

                                                          27
                                                               8
                                                                   See
                                                          28

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                                                           1                                                                                                         9


                                                           2   Darke Decl. ¶ 5, Ex. 1. Thus, even if a
                                                           3

                                                           4

                                                           5             Third, the third Rowland factor – the closeness of the connection between the defendant’s
                                                           6   conduct and the injury suffered – militates against the foreseeability of harm due to the
                                                           7   intervening conduct of the IRS. See Vasilenko, 3 Cal. 5th at 1200 (the third Rowland factor “is
                                                           8   strongly related to the question of foreseeability itself . . . but it also accounts for third-party or
                                                           9   other intervening conduct”) (citations omitted). Intuit, as a private company, is neither authorized
                                                          10   nor in any position to make any determinations as to which tax returns are fraudulent (as opposed
                                                          11   to merely suspicious). This is particularly true where, as here, a fraudster files a tax return in the
                                                          12   name of a non-customer with whom Intuit has no prior relationship. Indeed, Intuit is required to
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                                                          13   transmit all tax returns to the IRS within three days of receipt, regardless of whether Intuit
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                                                          14   believes a return is suspicious. See IRS Pub. 1345 at 12, 43.
                                                          15             In contrast to Intuit, the IRS has access to a broad range of information regarding
                                                          16   legitimate taxpayers, including prior tax returns, W-2s, and other information provided by third
                                                          17   parties. The IRS also has undisclosed fraud filters that it uses to screen for fraudulent returns.
                                                          18   Cole Decl. III ¶ 14, Ex. K. The IRS then makes an independent determination, based on the
                                                          19   information available to it, as to whether a given return appears to be legitimate. To the extent
                                                          20   Brown suffered damages in connection with SIRF, it is because the IRS made a determination
                                                          21   that the fraudulent tax return appeared to be sufficiently legitimate such that the return could not
                                                          22   simply be rejected offhand. Thus, the third Rowland factor weighs against imposing a duty on
                                                          23   Intuit.
                                                          24             On these facts, Intuit (a do-it-yourself tax software provider) would have no reason to
                                                          25   believe this account or tax return was suspicious and no ability to determine if it was fraudulent.
                                                          26

                                                          27   9
                                                                The Court may consider documents incorporated by reference in the Third Consolidated
                                                               Amended Complaint. RJN at 6:11-28.
                                                          28

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                                                           1   Because Brown has not identified anything in this particular transaction that “gave [Intuit] any
                                                           2   inkling that [Brown] or anyone else was a potential victim . . . foreseeability becomes a very
                                                           3   abstract and rarefied concern.” Software Design, 49 Cal. App. 4th at 482. As the harm alleged
                                                           4   was not reasonably foreseeable to Intuit, the Court should decline to find a duty as urged by
                                                           5   Brown. To hold otherwise would depart from substantial authority—including this Court’s prior
                                                           6   grant of Intuit’s motion to dismiss this very same claim in the SCAC—thus imposing on Intuit a
                                                           7   duty to every single American taxpayer, and would “stretch the concept of foreseeability of harm
                                                           8   in determining duty beyond recognition.” Burns, 173 Cal. App. 4th at 489.
                                                           9          2.      Public Policy Militates Against Imposing Any Tort Duty on Intuit
                                                          10          Public policy also strongly militates against creating a new and ill-defined common law
                                                          11   duty owed by Intuit to all taxpayers (including non-customers). See Burgess v. Super. Ct., 2 Cal.
                                                          12   4th 1064, 1072 (1992) (the existence of a duty “depends upon the foreseeability of the risk and a
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                                                          13   weighing of policy considerations for and against imposition of liability”). “Because the
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                                                          14   consequences of a negligent act must be limited to avoid an intolerable burden on society, the
                                                          15   determination of duty ‘recognizes that policy considerations may dictate a cause of action should
                                                          16   not be sanctioned no matter how foreseeable the risk.’” Erlich v. Menezes, 21 Cal. 4th 543, 552
                                                          17   (1999) (citations omitted).
                                                          18          Authorized IRS e-file providers, like Intuit, operate in a heavily regulated field and are
                                                          19   subject to a host of tax and privacy statutes, rules and regulations. For example, 26 U.S.C.
                                                          20   § 7216(a) prohibits Intuit from “disclos[ing] any information furnished to [Intuit] for, or in
                                                          21   connection with, the preparation of any [tax] return” or “us[ing] any such [taxpayer-provided]
                                                          22   information for any purpose other than to prepare, or assist in preparing, any such return.” A
                                                          23   violation of Section 7216 is subject to criminal penalties. Id. The statute is drafted so narrowly
                                                          24   that the IRS had to issue guidance confirming that tax return preparers could, without violating
                                                          25   Section 7216, (1) analyze taxpayer-provided information to identify suspicious or potentially
                                                          26   fraudulent tax returns; and (2) provide information about such suspicious or potentially fraudulent
                                                          27   tax returns to the IRS and to state tax authorities. Cole Decl. III ¶ 20, Ex. Q. Even if Intuit
                                                          28   identifies a tax return as suspicious or potentially fraudulent, it may not block the return from

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                                                           1   being transmitted to the IRS. IRS Publication 1345, which sets forth the rules and requirements
                                                           2   for participating in IRS e-file, requires IRS e-file providers to “[t]ransmit all electronic portions
                                                           3   of returns within three calendar days of receipt.” IRS Pub. 1345 at 34 (emphasis added). Intuit
                                                           4   may withhold a tax return from transmission to IRS only if there is an attempt to file a second
                                                           5   return using the same Taxpayer Identification Number or when an email address or software
                                                           6   package is used to originate more than five tax returns. Id. at 12, 43.
                                                           7          These rules, while not exhaustive, are illustrative of a statutory and administrative tax
                                                           8   regime that embodies a number of legislative and regulatory decisions regarding the tradeoffs
                                                           9   between multiple, and at times competing, policy goals. The Court should be particularly
                                                          10   skeptical of recognizing new common law duties where, as here, a judicially-created mandate
                                                          11   would interfere with and displace the careful weighing of interests by the legislative and
                                                          12   regulatory process. See, e.g., QDOS, Inc., 2017 WL 5793973, at *7 (“[C]ourts have refused to
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                                                          13   fashion new duties to deal with . . . problems such as identity theft . . . ‘Given the scope of the
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                                                          14   problem and the consequences to the community of imposing a noncontractual duty with resulting
                                                          15   liability for breach, a decision to shift the burden of loss from the actual victim to a third party
                                                          16   duped by the thief is one to be made, if at all, by the Legislature, not the judiciary.’” (quoting
                                                          17   Rodriguez v. Bank Of The West., 162 Cal. App. 4th 454, 466 (2008)); Gabriel v. Giant Eagle,
                                                          18   Inc., 124 F. Supp. 3d 550, 563 (W.D. Pa. 2015) (declining to impose duty to verify in part
                                                          19   because pharmacies are highly regulated and “courts are precluded from imposing duties in
                                                          20   addition to those which the legislative branch has chosen to set forth” (internal quotation marks
                                                          21   and citation omitted)); Huggins v. Citibank, N.A., 355 S.C. 329, 334 (2003) (declining to impose
                                                          22   duty on banks and noting that the “legislative arena is better equipped to assess and address the
                                                          23   impact of credit card fraud on victims and financial institutions alike”); Piscitelli v. Classic
                                                          24   Residence by Hyatt, 408 N.J. Super. 83, 115 (2009) (declining to impose duty on employers in
                                                          25   light of existing identity theft statutes, and noting that “[t]he express provision of one method of
                                                          26   enforcing a substantive rule suggests that Congress intended to preclude others” (citations
                                                          27   omitted)).
                                                          28          Plaintiffs’ focus on a limited set of ad hoc “duties” considered in isolation would

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                                                           1   undermine the careful balance struck by the IRS and state tax administration regimes. To take
                                                           2   just one example, Plaintiffs suggest that Intuit should notify taxpayers about suspicious or
                                                           3   potentially fraudulent tax returns filed in their name. See, e.g., TCAC ¶ 111, 124. But fighting
                                                           4   fraud is a complex problem, and mandating a “duty” to notify potential SIRF victims could lead
                                                           5   to a number of unintended consequences.
                                                           6          First, Intuit does not have a prior or existing relationship with non-customers like Brown
                                                           7   and has no way to confirm, with complete certainty, accurate contact information for the
                                                           8   legitimate taxpayer.10 Intuit cannot rely on contact information provided by suspected fraudsters,
                                                           9   and requiring the Company to notify non-customers based on incomplete or inaccurate
                                                          10   information could potentially risk disclosing sensitive taxpayer information to the wrong parties.
                                                          11          Second, a notification requirement would be pointless without requiring the taxpayer to
                                                          12   provide Intuit with proof of her identity. Absent express instructions from an authenticated
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                                                          13   taxpayer, Intuit would still be legally obligated to transmit suspicious tax returns to the IRS
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                                                          14   within three days of receipt. IRS Pub. 1345 at 34. But requiring non-customers to provide proof
                                                          15   of identity to Intuit could unintentionally promote fraud by encouraging taxpayers to provide
                                                          16   sensitive information to companies with whom they have no prior relationship. For example, the
                                                          17   practice could potentially subject taxpayers to phishing schemes in which third parties imitate
                                                          18   Intuit notifications to deceive taxpayers into providing sensitive information to fraudsters.11
                                                          19          Third, to the extent that suspected fraudsters provide Intuit with contact information under
                                                          20   the fraudster’s own control (e.g., an e-mail address created and controlled by the fraudster), a
                                                          21   notification requirement could potentially alert fraudsters when Intuit detects a suspicious filing.
                                                          22   This could, in turn, potentially undermine efforts to detect fraudulent schemes by providing
                                                          23   fraudsters with an opportunity to change their behavior as soon as they receive notification that
                                                          24   Intuit has detected suspicious activity. Notification could also potentially provide fraudsters with
                                                          25   10
                                                                 Plaintiffs’ own allegations confirm that Intuit may not blindly rely on contact information
                                                          26   provided by suspected fraudsters. See TCAC ¶ 111 (alleging that

                                                          27   11
                                                                 See, e.g., Cole Decl. III ¶ 21, Ex. R (noting an increase in alerts from TurboTax and other tax
                                                               software companies, accompanied by a parallel increase in the number of phishing scams).
                                                          28

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                                                           1   an opportunity to test Intuit’s ability to detect different types of fraud.
                                                           2           Fourth, even assuming Intuit could reasonably notify non-customers of potential SIRF,
                                                           3   the notification, authentication, and verification process could potentially delay transmission of
                                                           4   any false positives (i.e., returns that appear suspicious but are confirmed to be legitimate) beyond
                                                           5   the three-day window mandated by IRS. A delay in transmission could, in turn, potentially cause
                                                           6   hardship to taxpayers by delaying payment of any tax refunds.
                                                           7           These considerations underscore that the judicial process is not the proper forum to
                                                           8   consider and weigh the myriad policy considerations that may be implicated by any effort to
                                                           9   protect the tax administration regime, and taxpayers generally, from identity theft-related fraud.
                                                          10   And there is no need for the Court to do so. The IRS has already announced joint efforts with
                                                          11   state authorities and private industry to implement initiatives for increased information sharing
                                                          12   and to put in place stronger protections to fight against the growing and evolving threat of SIRF.
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                                                          13   Cole Decl. III ¶¶ 10-12, Exs. G-I. Among other things, the IRS allows eligible taxpayers to apply
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                                                          14   for Identity Protection PINs to prevent unauthorized use of their Social Security Number on
                                                          15   federal income tax returns. Cole Decl. III ¶ 13, Ex. J. IRS policy also strongly encourages e-
                                                          16   filing and the IRS has worked closely with e-file providers to ensure that e-filing is easy,
                                                          17   accessible, and efficient for taxpayers. Id. at ¶ 12, Ex. I. For this Court to now impose a common
                                                          18   law duty on Intuit to implement undefined security or authentication measures beyond those
                                                          19   already required by law would interfere with IRS policy decisions, including those to promote e-
                                                          20   filing and efficient processing of returns. Cf. Chazen, 61 Cal. App. 4th at 539 (declining to
                                                          21   impose common law duty on banks in part because banking system operates under rules requiring
                                                          22   “banking transactions to be processed quickly and automatically and impos[ing] strict deadlines
                                                          23   for the payment or timely dishonor of checks”). Thus, the Court should leave the appropriate
                                                          24   balance to the federal and state legislatures and their respective taxing authorities, decline
                                                          25   Plaintiffs’ invitation to engage in unwarranted judicial activism, and find no common law duty
                                                          26   owed by Intuit to all taxpayers.
                                                          27           In the context of identity theft, courts in California and elsewhere have found that costs
                                                          28   and other policy considerations far outweigh any benefits of imposing a common law duty. See,

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                                                           1   e.g., Burns, 173 Cal. App. 4th at 490 (declining to impose duty because the “scope of this
                                                           2   proposed—yet ill defined—duty of inquiry is boundless, and would impose a significant and
                                                           3   unwarranted burden on retail merchants to ascertain the veracity of a third party check any time
                                                           4   the instrument is proffered . . . which would far outweigh any resulting benefit in detecting the
                                                           5   isolated instance of embezzlement”); Longenecker-Wells v. BeneCard Servs., Inc., No. 1:15-CV-
                                                           6   00422, 2015 WL 5576753, at *6-7 (M.D. Pa. Sept. 22, 2015) (declining to impose duty, noting
                                                           7   “in this era, where the threat of data breaches by unknown third parties is omnipresent, regardless
                                                           8   of what preventative measures are taken, the potential disparity between the degree of a
                                                           9   defendant’s fault and the damages to be recovered could be immensely disproportionate, resulting
                                                          10   in drastic implications for defendants named in lawsuits as well as our economic system at
                                                          11   large”); Piscitelli, 408 N.J. Super. at 114 (declining to require employer to verify identities of all
                                                          12   prospective employees in part because “increas[ing] the cost . . . of hiring [during a known
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                                                          13   economic downturn] may well be contrary to the public interest”); Karen Kane, 67 Cal. App. 4th
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                                                          14   at 1199 (declining to impose duty on cash checking service or bank, as it would be a
                                                          15   “considerable burden” if the court “were to find that those institutions had to inquire into the
                                                          16   activities of both the makers and payees of checks regarding the possibility of internal fraud, and
                                                          17   the flow of commerce would be substantially impeded.”). Here, the policy considerations weigh
                                                          18   even more heavily against judicial imposition on Intuit of a common law duty to protect all
                                                          19   American taxpayers against SIRF.
                                                          20                                             CONCLUSION
                                                          21          Intuit requests the Court dismiss the Second Count (negligence) brought by Plaintiff
                                                          22   Brown and the Third Count (aiding and abetting fraud) brought by Plaintiffs Brown and Diaz
                                                          23   pursuant to Rule 12(b)(6) for failure to state a claim upon which relief can be granted.
                                                          24

                                                          25   Dated: December 15, 2017                       FENWICK & WEST LLP
                                                          26                                                  By: /s/ Rodger R. Cole
                                                                                                                  Rodger R. Cole
                                                          27
                                                                                                                   Attorneys for Defendant
                                                          28                                                       INTUIT INC.

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